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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

  PHAROS CAPITAL PARTNERS, L.P.,               :
                                               :
         Plaintiff,                            :
                                               :
  v.                                           :     Case No. 2:03cv362
                                               :
  DELOITTE & TOUCHE, L.L.P.,                   :     Judge Marbley
  CREDIT SUISSE FIRST BOSTON                   :
  CORPORATION, THE SHATTAN                           Magistrate Judge Abel
                                               :
  GROUP, L.L.C., PURCELL & SCOTT,              :
  L.P.A., HAROLD W. POTE, and ERIC             :
  R. WILKINSON,                                :
                                               :
         Defendants.                           :

         PLAINTIFF’S SECOND AMENDED COMPLAINT AND JURY DEMAND

        Plaintiff Pharos Capital Partners, L.P. (“Pharos”) files this Second Amended Complaint

 and Jury Demand against Defendants Deloitte & Touche, L.L.P. (“Deloitte”), Credit Suisse First

 Boston Corporation (“CSFB”), The Shattan Group, L.L.C., (“Shattan”), Purcell & Scott, L.P.A.

 (“Purcell & Scott”), Harold W. Pote (“Pote”), and Eric R. Wilkinson (“Wilkinson”), upon

 personal knowledge as to itself and its own acts and upon information and belief as to all other

 matters, as follows:

                                                I.

                               PRELIMINARY STATEMENT

        Not since the passage of the watershed federal securities legislation in the 1930s has

 investor confidence in corporate America been so low – and for good reason.            Investors

 everywhere are reeling from a seemingly endless string of corporate scandals involving schemes

 of greed and deception made possible by the active support of investment banking, auditing, and

 legal professionals. Although the very reason for the involvement of each in the structuring and


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 placement of large debt and equity offerings is to build credibility and reliability in the minds of

 potential investors, it is now clear that all too many of those professionals have been willing to

 sell their objectivity and professional integrity in exchange for the fees associated with the “latest

 deal.”

          This case is about one such multi-billion dollar scam and the professionals who provided

 the support that ensured its success. Less than two years ago, National Century Financial

 Enterprises (“National Century”), based in Dublin, Ohio, was promoted by each of the

 Defendants as an innovative, growing, and profitable provider of financial services to the health

 care industry. Based upon the active representations of Defendants, Pharos invested many

 millions of dollars to acquire National Century preferred stock.          It is now clear that the

 representations of the company and its professionals – Defendants – were knowingly false. In

 fact, at the time Pharos was paying millions into the equity of National Century, each of the

 Defendants knew that National Century was not only insolvent, but riddled with fraud. As a

 consequence, that stock is now worthless. Pharos files this suit to bring those parties to justice

 and to obtain the legal relief to which it is entitled.

                                                    II.

                                                PARTIES

 A.       Plaintiff

          1.     Pharos is a Delaware limited partnership with offices in Dallas and Nashville,

 Tennessee. The Nashville office is located at One Burton Hills Boulevard, Suite 180, Nashville,

 Tennessee 37215. Pharos is engaged in the business of acquiring equity and equity-related

 investments for and on behalf of its limited partner investors. The general partner of Pharos is

 Pharos Capital Group, LLC, a Delaware limited liability company.




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 B.     Defendants

        2.      Deloitte is a Delaware limited liability partnership with its principal place of

 business located at 1633 Broadway, New York, New York 10019-6754. At all relevant times,

 Deloitte served as National Century’s advisor and auditing firm, and issued reports and

 unqualified audit opinions with respect to National Century’s financial statements. As Deloitte

 does not have a registered agent in the State of Ohio, Deloitte may be served through the Ohio

 Secretary of State located at 180 E. Broad St., 15th Floor, Columbus, OH 43215

        3.      CSFB is a subsidiary of Zurich-based Credit Suisse Group (NYSE: CSR). CSFB

 is a Massachusetts corporation with its principal place of business located at 11 Madison

 Avenue, New York, New York 10010. CSFB represented National Century as agent and lead

 underwriter with respect to numerous securitizations, including the last round of equity financing

 in which Pharos invested. As CSFB does not have a registered agent in the State of Ohio, CSFB

 may be served through the Ohio Secretary of State located at 180 E. Broad St., 15th Floor,

 Columbus, Ohio 43215.

        4.      Shattan is a Delaware limited liability partnership with its principal place of

 business located at 540 Madison Avenue, Floor 35, New York, New York 10022-3225. Shattan

 also acted as co-underwriter and co-agent in connection with the preferred stock offering which

 resulted in Pharos’s investment in National Century. As Shattan does not have a registered agent

 in the State of Ohio, Shattan may be served through the Ohio Secretary of State located at 180 E.

 Broad St., 15th Floor, Columbus, OH 43215.

        5.      Purcell & Scott is an Ohio limited partnership with its principal place of business

 located at 6035 Memorial Drive, Dublin, Ohio 43017. At all relevant times, Purcell served as

 National Century’s outside counsel and advised the company on numerous securities offerings,




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 including the preferred stock offering which resulted in Pharos’s investment in National Century.

 Purcell & Scott may be served at their principal place of business in Dublin, Ohio.

         6.     Pote was, at all relevant times, a National Century “outside” director and

 Executive Vice President of JPMorgan Chase’s Regional Banking Group. Prior to the last round

 of National Century equity financing, JPMorgan was a 17.1% beneficial owner of National

 Century by virtue of its acquisition of Chase Manhattan and, with it, Beacon Group III – Focus

 Value Fund, L.P. (the “Beacon Group”), which invested in National Century’s Series A

 Convertible Preferred Stock in 1998. At all relevant times, Pote was a member of National

 Century’s Executive Committee, Asset and Liability Committee, and the sole member of the

 board’s Audit Committee. Pote may be served at his residence located at 162 East 81st Street,

 New York, New York 10028.

         7.     Wilkinson was, at material times, a National Century “outside” director, as well

 as a partner of J.P. Morgan Partners (having also previously served as a managing director of the

 Beacon Group). Wilkinson and Pote were the only members of the National Century Board of

 Directors who were not also members of the management team. Thus, Wilkinson and Pote

 assumed special responsibility for the oversight and control of the company’s “insiders.”

 Wilkinson may be served at his residence located at 420 Burd Street, Pennington, New Jersey

 08534-2701.

                                                III.

                                 JURISDICTION AND VENUE

         8.     The Court has subject matter jurisdiction over this matter based on 28 U.S.C. §

 1334.




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          9.    This Court has personal jurisdiction over each of the Defendants because, among

 other reasons, Defendants conducted business in Ohio and committed one or more torts in this

 State.

          10.   Venue is proper in this Court because one or more of the Defendants resides in

 this district, and because all or a substantial part of Pharos’s causes of action accrued or arose

 here.

                                                  IV.

                                                FACTS

 A.       Pharos: Putting Money To Work For Its Investors

          11.   Pharos was formed to achieve superior long-term capital appreciation through

 privately-negotiated equity and equity-related investments in health care, service, and technology

 companies.     Prior to forming Pharos, its principals had established strong investment and

 business operations track records.      They then set about to continue their success working

 together, with a dedicated team of investment professionals, to build and grow the Pharos

 portfolio.

          12.   Pharos counts among its investors a number of Fortune 500 companies. Given the

 reputations, experience, and past success of its principals, and the enthusiastic backing of large

 institutional investors, Pharos is well-positioned to distinguish itself from its competitors and to

 generate significant capital appreciation for its limited partners.

 B.       National Century: All That Glitters Isn’t Gold

          13.   Not long ago, Dublin-based National Century was the largest health care finance

 company in the United States, providing medical accounts receivable financing to a wide variety

 of small and middle market health care providers.          National Century’s customers included

 hospitals, nursing homes, home health care agencies, specialty clinics, physician groups, durable


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 medical equipment providers, laboratories, and other businesses and professionals providing

 health care services.

        14.     Founded in 1991 by Lance K. Poulsen, Donald H. Ayers, and Rebecca S. Parrett,

 National Century quickly “took off” and accumulated an impressive record of sustained and

 substantial growth in revenues and profits. From its inception, National Century purchased and

 serviced billions of dollars of health care receivables. During the five-year period 1996-2001,

 National Century and its outside professionals reported that the company’s total revenues

 increased at a compounded annual rate of 36%, from $66.3 million in 1996 to $306.6 million in

 2001. National Century’s net income for the year ended December 31, 2001, was reportedly

 $41.6 million, representing an impressive 53% compounded annual growth rate since 1996.

        15.     National Century’s principal business was to finance health care providers

 through the purchase of their accounts receivables that were payable by commercial and

 government payors (e.g., insurance companies, Medicare, and Medicaid). National Century

 purchased those receivables at a discount, thereby providing needed cash to the health care

 providers well in advance of the time in which those receivables could ordinarily be collected.

        16.     As of June 30, 2002, National Century owned $3.3 billion of medical accounts

 receivables. National Century purchased those receivables with borrowed funds – specifically,

 monies obtained through securities which were backed by the receivables themselves.               In

 addition, National Century and its professionals represented that those obligations were

 supported by adequate reserves to protect National Century against the risk of non-payment of

 the underlying receivables.

        17.     National Century consistently maintained investment grade (primarily triple-A)

 ratings from Fitch Ratings (“Fitch”) and Moody’s Investor Services (“Moody’s). In concept,




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 National Century generates profits from program fees charged to health care providers for

 providing advances, as well as positive gains on the spread between those program fees and its

 cost of funds used to buy the receivables.

        18.     With a multi-billion dollar portfolio of receivables and more than 2,100 active

 client locations, National Century was the market leader in providing receivable purchase

 financing to small and middle market health care providers.

 C.     The Trap: Pharos Is Induced To Make A Substantial Investment In National
        Century.

        19.     National Century and Defendants worked tirelessly to convince the public that it

 was a well-run company whose business model and financial affairs were fundamentally sound –

 and the effort paid off. National Century became a “darling” within the investment community,

 and garnered significant public cache in articles in trade journals and the business press. It is no

 wonder, then, why Pharos was attracted to National Century.

        20.     In early 2002, the principals of Pharos were approached by CSFB regarding a

 possible investment in the National Century preferred stock. Although National Century enjoyed

 ready access to bank financing and capital markets (having raised over $6 billion in

 securitizations since 1992), Defendants informed Pharos that lenders and credit-rating agencies

 deemed it important that National Century have a diversified equity base. Thus, CSFB, Shattan,

 and National Century proposed to issue, in a private offering, Series B Convertible Preferred

 Stock (the “Preferred Stock”) at a price of $12,822 per share. The Preferred Stock would be

 convertible into National Century common stock on a one-for-one basis and would provide for

 board observation rights and registration rights.

        21.     Intrigued by National Century’s operating history and business model, as

 described by CSFB and Shattan, Pharos entered into negotiations with National Century. During



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 the course of those negotiations, CSFB provided Pharos with materials for the alleged purpose of

 describing National Century’s business model and financial results, and inducing Pharos to make

 a substantial purchase of the Preferred Stock. Among the documents provided to Pharos were:

 (1) a Private Placement Memorandum, prepared and issued by CSFB and Shattan, as agents of

 National Century; (2) National Century financial statements, along with “clean” audit reports

 issued by Deloitte; (3) an opinion letter issued by Purcell & Scott; and (4) other materials

 created, reviewed and/or approved by National Century, its officers and directors, and its agents

 and consulting professionals (including, without limitation, Deloitte, Purcell & Scott, Shattan,

 CSFB, Pote, and Wilkinson).        Pharos relied heavily on the contents of those materials in

 evaluating the offering.

        22.     After CSFB and Shattan provided “due diligence” materials to Pharos, CSFB set

 up phone calls between Pharos and National Century management. CSFB then arranged for

 Pharos personnel to visit National Century’s offices in Dublin, Ohio. In addition to arranging

 those calls and the meeting, CSFB was an active participant in them.

        23.     Pharos, National Century, Lance Poulsen, Barbara Poulsen, and Flohaz Partners,

 LLC (a limited liability company composed of the four founders of National Century) entered

 into a Preferred Stock Purchase Agreement, dated July 8, 2002 (the “Stock Purchase

 Agreement”). Among other things, the Stock Purchase Agreement set forth the terms under

 which Pharos committed to purchase $12 million of National Century Preferred Stock. On July

 9, 2002, that purchase was consummated, and Pharos became a stakeholder in America’s largest

 provider of financial services to the health care industry.




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 D.     The Moving Parts: The Mechanics Of National Century’s Business Model

        1.      Securitized “programs:” National Century’s source of funds for purchasing
                receivables

        24.     National Century provided medical receivables financing to its clients through the

 creation of company-sponsored, wholly-owned, special-purpose, bankruptcy-remote subsidiary

 corporations, called “programs.” Each program issued notes (the "program notes") pursuant to

 an indenture, secured by pools of receivables and other collateral. Thus, the principal balance

 sheet assets of each program were receivables which had been purchased from health care

 providers and cash. The principal liability was receivable-backed debt (i.e., the program notes).

        25.     Each program required that National Premier Financial Services, Inc. (“NPFS”), a

 wholly-owned subsidiary of National Century, act as the “servicer.” NPFS was responsible for

 performing due diligence with respect to the clients (health care providers) and to predict and

 monitor the collection of purchased receivables.      The servicer was also subject to various

 reporting requirements as set forth in the program indentures.

        26.     Through the years, National Century created and funded over forty (40)

 securitized programs. The two largest programs in existence at the time of Pharos’s purchase of

 the Preferred Stock were NPF VI and NPF XII. NPF VI, which raised $840 million from

 noteholders through a program indenture, was administered by Chase Manhattan Bank (now

 JPMorgan Chase) as trustee. NPF XII, which raised $2.2 billion, was administered by Bank

 One, as trustee. Each of those funds was a wholly-owned subsidiary of National Century, and

 was serviced by NPFS.

        2.      Medical service providers: National Century’s financing clients

        27.     As program sponsor, National Century solicited the participation of health care

 providers to sell selected receivables to the program. Each client-provider would typically enter



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 into an arrangement known as a Sale and Subservicing Agreement (an "SSA") and one or more

 lockbox account agreements with a financial institution acceptable to National Century.

 Pursuant to the terms of the SSA, the client-providers agreed to sell, and the program agreed, at

 its discretion, to purchase, receivables payable by certain payors, which were generated through

 the operation of the client'
                            s business. The SSAs were usually for terms of three to five years.

 Pursuant to the SSA, the program advanced funds to the client-providers for the purchase of

 certain receivables, generally on a weekly basis for the term of the SSA. Proceeds from the

 client-providers'receivables were remitted by eligible payors directly to lockbox accounts

 established and administered pursuant to the terms of such client'
                                                                  s SSA and lockbox account

 agreement.

        3.      The pricing of purchased receivables and the establishment of reserves

        28.     The receivables purchased by National Century primarily consisted of the

 obligations of investment grade insurance companies and federal and state government agencies.

 In determining the purchase price of those receivables, National Century: (1) discounted the face

 amount of the receivable to reflect the expected reimbursement rate, thereby deriving the

 “Eligible Receivable Amount;” (2) discounted the Eligible Receivable Amount by at least 3% to

 arrive at a “Net Value;” and (3) allegedly established reserves and other accounts, thereby

 withholding from the purchase price a sufficient amount so that at any time: (a) at least 6.5% of

 the Net Value of all outstanding purchased receivables was to be held in ”Credit Reserve

 Accounts;” and (b) another 2% of the Net Value was to be held in “Offset Reserve Accounts,”

 which could be utilized to satisfy deficiencies caused by breaches of client representations or

 warranties applicable to the purchased receivables.

        29.     National Century could access its Credit Reserve and Offset Reserve Accounts as

 protection against the risk of collection shortfalls.     National Century also withheld an


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 “Administrative Fee” of approximately 8.5% of the Net Value, which provided additional credit

 risk protection. Only after the receivable was collected was the Administrative Fee offset by an

 equal subservicing fee (payable to the client-provider).

        30.     The foregoing practices should have resulted in National Security maintaining a

 total effective reserve equal to approximately 20% of the Eligible Receivable Amount (i.e., the

 sum of the 3% collateral withholding, 6.5% Credit Reserve, 2% Offset Reserve, and 8.5%

 Administrative Fee).

        31.     In addition to those amounts, National Century represented that it set aside an

 additional general reserve against losses. As of December 31, 2001, that reserve was reportedly

 2.2% of the outstanding balance on National Century’s receivables portfolio less provider

 reserves.

        4.      National Century: a money machine

        32.     National Century’s most significant revenue sources were the “Program Fees,”

 which were charged monthly to the client-providers and were based upon the Net Value of the

 outstanding purchased receivables relating to each such provider. Typically, Program Fees were

 approximately 11% on an annualized basis. The Program Fees, together with interest income,

 one-time program closing fees, and other miscellaneous fees, were the sources of National

 Century’s revenues which were represented to the public.

        33.     The foregoing represents how National Century was supposed to work. Reality,

 however, was far different.




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 E.     Behind The Scenes At National Century: A Tale Of Lying, Cheating, And Stealing.

        1.      National Century’s misuse of program funds for loans and other
                unauthorized purposes

        34.     Contrary to the representations set forth in the materials provided to Pharos by

 National Century and Defendants in connection with Pharos’s analysis of the company and

 evaluation of a possible investment in the Preferred Stock, National Century and its advisors had

 long before abandoned all attempts to have National Century adhere to its stated business model.

 Indeed, it is now known that only about 30% of the $3 billion raised in the securitization

 programs (NPF VI and NPF XII) was used to purchase receivables that were eligible under those

 programs’ indentures.    Unbeknownst to Pharos, approximately 38% was used to purchase

 receivables that completely failed to meet the indentures’ eligibility requirements. Incredibly,

 the remaining 32% of those funds was paid out as unsecured advances to user-providers in

 violation of the indenture agreements.

        35.     Thus, contrary to all representations to Pharos, National Century was in the

 business of making high-risk loans, rather than purchasing qualified receivables in accord with

 the indenture agreements under which it obtained the funds to acquire health care receivables.

 To make matters worse, the borrowers of those illegally-made loans were in most cases the small

 and middle-market health care providers with whom National Century was already doing

 business. Worse still, National Century insiders, i.e., National Century’s management team and

 the outside director defendants, held undisclosed financial interests in these loan recipients.

 Accordingly, National Century’s exposure for the potential uncollectability of those loans was

 dangerously high.

        36.     Defendants worked individually and in concert to conceal the true state of affairs

 at National Century from Pharos. Critically, the representations contained in the materials



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 provided to Pharos in connection with its analysis of National Century and evaluation of the

 Preferred Stock were untruthful, in that they misrepresented the operational and financial picture

 of National Century and concealed the unauthorized components of National Century’s business

 operations. Each Defendant not only participated in those misrepresentations, but was well

 aware of National Century’s substantial and increasing dependence on illegitimate activities.

 Obviously, had Pharos known or been able to discover the fraud by National Century, Pharos

 would not have entered into the Stock Purchase Agreement and paid $12 million for the

 Preferred Stock.

        2.      National Century’s robbing of the reserves and attempted cover-up

        37.     Instead of maintaining its reserves at safe levels, as it represented it had done and

 would continue to do, National Century decided – at a point well in advance of Pharos’s

 purchase of the Preferred Stock – to rob those reserves in order to meet its cash flow

 commitments, make interest payments to noteholders pursuant to the program notes, and

 purchase new receivables. Once National Century began robbing its reserves, a “domino” effect

 was created which inevitably and substantially depleted the reserve accounts that had been set

 aside to protect the company and the noteholders in the event of collection problems. For

 example, the required level of reserves for NPF XII was 17%; however, those funds were

 depleted to a level of .06%. In addition to leaving the reserve accounts at dangerously low

 levels, those practices were indicative of a cash flow crisis within National Century. Thus, in

 order to cover up its illegal use of the reserve funds from its shareholders and noteholders,

 National Century devised an accounting shell game involving carefully-timed transfers between

 reserve accounts.

        38.     The indenture documents relating to the NPF VI and NPF XII bond programs

 required that certain minimum cash reserves be established as security for the notes. As part of


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 the reporting requirements relating to those programs, monthly “Investor Reports” were prepared

 by National Century, through its servicing subsidiary, NPFS, and distributed to the program

 trustees (JPMorgan Chase and Bank One, respectively) and to various rating agencies. The

 Investor Reports provided information regarding fund activity, balances, compliance

 information, and cash reserves. Interestingly, the monthly Investor Reports for NPF VI were

 prepared on the last day of each month, and on the first day of each month with regard to NPF

 XII Reports – a seemingly innocuous fact that turned out to be of immense importance.

        39.     Because of the different reporting dates, National Century could transfer funds

 (albeit, illegally) between the reserve accounts of those two programs to cover cash shortfalls in

 their respective reserve accounts – conduct that clearly violated the indenture agreements

 governing each program. Yet, unbeknownst to Pharos, that is exactly what National Century did.

 Those cross-program transfers created the false impression that both programs were

 independently in compliance with their reserve requirements.

        40.     According to the Wall Street Journal, internal company memoranda reveal that

 National Century was more than $100 million short in cash reserves as early as November 1999,

 and that management deliberately chose to make up those shortfalls by switching funds between

 different bond issues. One memorandum, dated November 15, 1999, written by a manager in

 National Century’s compliance department to his boss, states:        “Currently, across all NPF

 funding programs, the reserve and equity balances are deficient by over $100 million. The funds

 required . . . equals $286 million while the sum of funds available as of November 15, 1999 is

 $185 million.” That memo was copied to Lance Poulsen and other senior executives. Another

 internal memorandum, dated February 2000, sent to Poulsen and other senior executives,

 revealed that the programs were “collectively short by over $72 million.” The author states: “In




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 recent months, NCFE [National Century] has cured the shortages by wiring funds between the

 Chase programs [NPF VI] and the Bank One programs [NPF XII] and testing the requirements

 on different days,” and that, “Previously, the maximum amount needed to cure the shortages has

 not exceeded $45 million; this month will require more than double that amount.”

        41.     Other of National Century’s internal documents also vividly illustrates the fraud

 and wrongdoing at National Century. For example, National Century’s Executive Minutes dated

 July 1, 1998, indicate that on or about that date, KPMG Peat Marwick (“KPMG”) made a

 presentation to National Century’s management and to insiders of the Beacon Group. KPMG’s

 presentation materials at that meeting plainly indicated the complicity of Pote and Purcell &

 Scott in the fraudulent acts of National Century.

        42.     The KPMG presentation also included additional shocking revelations that clearly

 demonstrated that National Century was cooking its books. Yet every Defendant in this case—

 CSFB, Shattan, Deloitte, Purcell & Scott, Pote, and Wilkinson – made public statements and

 undertook actions to mislead potential investors like Pharos whose investments continued to

 breathe life into the corpse that was National Century. Those revelations included:

        “We agree to add page in monthly management report which says we moved what
        $ between books each month.”

        “The Company has the ability to manage the performance of the programs
        through asset transfers, aging freezes, default waivers and potentially other
        means. This ability . . . makes it difficult to track activity within the SPC’s
        [Special Purpose Corporations] in terms of defaults and agings.”

        “Although there are a number of programs which have periodically hit default
        triggers in the past two years . . . the Company’s ability to manage the books
        appears to mitigate somewhat the risks of early amortization events. Although
        this management minimizes equity infusions in the Company, the performance of
        the SPC’s may be scrutinized in an initial public offering.”

        “Other activities may also serve to improve the performance of the SPC’s:
        Receivable aging freezing which stops receivables from further aging and affects
        the performances statistics presented to investors and rating agencies.”


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        “Subsequent analysis and discussion have confirmed that NCFE is supporting its
        SPC’s in several ways: repurchasing problem assets; infusing cash to support
        performance tests; and re-aging receivables (or freezing) to support performance
        tests.”

        “Analysis of the program performance relative to aging appears confusing
        [fraudulent] based on the following comparison:”

        43.     In short, years prior to Pharos’s investment in the Preferred Stock, National

 Century was engaging in an elaborate and fraudulent “shell game,” pursuant to which it wired

 funds back and forth between the reserve accounts of two “firewalled” securitized funds for the

 purpose of creating the illusion of compliance with those programs’ reserve requirements. Of

 course, Pharos had no knowledge of those activities and would not have become a shareholder in

 National Century if it had known.

        3.      National Century’s undisclosed self-dealing relating to affiliated client-
                providers

        44.     Undisclosed to Pharos was the fact that an overwhelming majority of National

 Century’s client-providers were companies affiliated with Lance Poulsen and his cronies,

 including Pote. In fact, after Pharos invested, Pote admitted that he received stock warrants from

 one such company, Med Diversified. Indeed, 56% of the value of the claims underlying National

 Century’s largest program, NPF XII, had been acquired from companies in which National

 Century and Poulsen held an interest.

        45.     National Century’s internal documents reveal a number of related-party client-

 providers, including Allied Medical, RxMedical, Anesthesia Solutions, Inc., HomeCare

 Concepts of America, Millenium (MedManager), Doctors Community Healthcare, Med-

 Diversified, California Psychiatric Management Services, Allied Medical, Inc., PhyAmerica

 Physicians Group, Inc., and Phoenix Group, Inc.




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        46.     Obviously, the fact that National Century was not doing business with third-party,

 arms-length client-providers but, instead, was purchasing receivables from closely-affiliated

 companies raised numerous conflicts of interest and opportunities for abuse. That National

 Century acted against the best interests of its shareholders is reflected in the illegal loans it made

 to its affiliated client-providers. Those loans would spell the ruin of National Century, and

 would cause the bottom to drop out of the value of Pharos’s Preferred Stock.

        47.     The facts of National Century’s and its principals’ ownership interests in those

 client-providers were never disclosed in the documents or other information provided to Pharos

 in connection with its evaluation of the Preferred Stock purchase. Had National Century and

 Defendants not concealed that self-dealing and those conflicts of interest, Pharos would have

 “walked away” from the negotiations and never invested a dime. Instead, it relied on the

 misstatements and deceptive disclosures contained in the private placement memoranda,

 financial statements, opinion letters, and other materials created, reviewed, edited, approved

 and/or issued by Defendants in purchasing the Preferred Stock. That reliance proved fatal.

 F.     The Truth Outs: The Real National Century Comes To Light.

        48.     Following Pharos’s purchase of $12 million of the National Century Preferred

 Stock, National Century’s fraudulent and otherwise unlawful conduct began coming to light. For

 example, in an Investor Report delivered by National Century (through its servicing subsidiary,

 NPFS) to Bank One, dated October 23, 2002, National Century was forced to disclose that: (1)

 there was only $851,993 in a Credit Reserve Account that was supposed to be maintained at a

 level of $145 million; (2) there was only $498,321 in an Offset Reserve Account that was

 supposed to be maintained at a level of $44 million; and (3) there was only $10 million in an

 Equity Reserve Account that should have been maintained at a level of $217 million. When

 those facts came to light, Bank One immediately sought relief from state and federal courts in


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 Ohio, including the appointment of a receiver. That, in turn, prompted the F.B.I. to undertake an

 investigation and to conduct a raid upon the offices of National Century. Similar actions by the

 United States Securities and Exchange Commission soon followed.

        49.    In late October, 2002, Fitch announced that it had been “informed by interested

 parties that NCFE [National Century] directed the trustee [of NPF XII, Bank One] to reroute

 certain funds intended for the NPF XII reserve accounts in order to fund the purchase of new

 receivables,” and that, “The company’s apparent willingness to disregard the documents and

 commit such a serious breach, causes Fitch to question NCFE’s viability.” In response, National

 Century explained to Fitch and Moody’s that the company was facing a liquidity problem and

 had to expend reserves, thereby depleting those accounts from their $400 million required levels

 to only $11 million. Predictably, both Fitch and Moody’s immediately downgraded their ratings

 with respect to the NPF VI and NPF XII notes.

        50.    Thereafter, a number of significant noteholders in National Century’s securitized

 programs wrote-down substantial portions of their investments, including Ambac Financial

 Group, Inc., Credit Suisse, Pacific Investment Management Co., and ING Group NV.

        51.    On November 18, 2002, just three weeks after the above facts regarding the

 reserves surfaced, National Century was forced to file for protection under chapter 11 of the

 United States Bankruptcy Code in the United States Bankruptcy Court for the Southern District

 of Ohio. Recent reports indicate that as much as $1 billion of National Century assets cannot

 presently be accounted for and in January, 2003, National Century announced that it would cease

 operations in May, just six months after it sought bankruptcy protection for purposes of

 “reorganizing.”




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 G.     Wrongdoers All: Defendants’ Roles In The Rise And Fall Of National Century

        52.     Each of Defendants played a critical role in the destruction of National Century

 and in the wrongs perpetrated against Pharos, other shareholders and creditors. Although each

 Defendant has since sought to minimize its involvement in, and responsibility for, the acts

 described above, such efforts are unavailing and insincere. Each of Defendants reaped millions

 of dollars in fees while ignoring their obligations to prevent the patterns and practices of

 unlawful behavior within the company of which they were (or should have been) aware. Each, at

 various times, engaged in activity concealing and misrepresenting the true condition of National

 Century.

        2.      Deloitte

        53.     National Century informed Deloitte, both at the outset of their relationship and in

 connection with each ensuing audit, that the company’s audited financial statements would be

 used and distributed by National Century to solicit equity investment in the company and its

 subsidiaries. Deloitte knew that National Century was not a publicly-traded company and,

 therefore, that the company raised equity capital through private placements. Consequently,

 Deloitte knew that the representations it made in the course of auditing National Century would

 be received by a limited group of private placement offerees (such as Pharos) and relied upon by

 those who were considering an investment in the company’s securities. As such, Pharos and

 other similarly-situated investors were among the group of persons for whose benefit Deloitte

 knew that National Century was obtaining audited financial statements and to whom they would

 be supplied.

        54.     As National Century’s “independent” auditor, Deloitte had full access to all of

 National Century’s corporate books, records, resources, customer lists, and ledgers for the




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 purposes of auditing National Century’s compliance with GAAP and ensuring that adequate

 internal controls existed. However, Deloitte failed miserably in that responsibility.

                a.      The auditor’s carelessness and material misrepresentations and
                        omissions

        55.     Deloitte knew of (or, alternatively, was aware of facts that should have reasonably

 caused it to conduct an adequate investigation to discover) the accounting and operational

 deficiencies and improprieties described above. Nevertheless, Deloitte failed to report those

 material facts or otherwise call them to the attention of the potential investors to whom Deloitte

 knew its audited financial statements would be sent.

        56.     Deloitte represented to potential institutional investors, through its “clean” audit

 reports, that National Century’s financial statements for the years ending 1999 and 2000

 accurately and fairly presented the financial condition and position of National Century and its

 subsidiaries. Deloitte also represented in those audit reports that it had conducted a proper

 review of National Century’s financial statements according to GAAS, that the financial

 statements were free of material misrepresentations, that evidence supporting the disclosures in

 the financial statements were examined on a test basis and that such disclosures were

 corroborated and confirmed pursuant thereto, and that National Century’s financial statements

 and reports were prepared according to GAAP. In reality, however, National Century’s financial

 statements were a fictitious account of National Century’s true financial condition, were replete

 with material misstatements and omissions, and were an important instrumentality for National

 Century to defraud investors like Pharos.

        57.     Deloitte failed to report the hundreds of millions of dollars in overpayments to

 related entities. Given Deloitte’s obligations and the facts of which they were aware, Deloitte’s

 failure in this regard is the same as an intentional misrepresentation. For instance, Deloitte had



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 been informed that advances by National Century and its subsidiaries to a company controlled in

 part by shareholders of National Century exceeded, at both December 31, 1999 and

 December 31, 2000, $10 million. Deloitte had also been informed that advances (net of reserves)

 made to certain providers – in which shareholders of National Century owned an equity interest

 – exceeded, at December 31, 1999, $685 million, and at December 31, 2000, $1 billion. Deloitte

 failed to require that those entities be accounted for on National Century’s balance sheets and

 financial statements, or otherwise insist upon other appropriate disclosures.

        58.     Deloitte’s failures to detect, monitor, and report those related party transactions

 directly violated generally accepted auditing standards, which require auditors to pay close

 attention to related party transactions due to the possibility that they are not bona fide, arms’-

 length transactions. Indeed, AU §334.11 requires:

        For each material related party transaction (or aggregation of similar transactions)
        or common ownership or management control relationship for which FASB
        Statement No. 57 requires disclosure, the auditor should consider whether he has
        obtained sufficient competent evidential matter to understand the relationship of
        the parties and, for related party transactions, the effects of the transaction on the
        financial statements. He should then evaluate all the information available to him
        concerning the related party transaction or control relationship and satisfy himself
        on the basis of his professional judgment that it is adequately disclosed in the
        financial statements.

        59.     Furthermore, FASB Statement 57 makes clear that an auditor cannot presume that

 related party transactions are legitimate, bona fide or at arms’ length:

        Transactions involving related parties cannot be presumed to be carried out on an
        arm’s-length basis, as the requisite conditions of competitive, free-market
        dealings may not exist. Representations about transactions with related parties, if
        made, shall not imply that the related party transactions were consummated on
        terms equivalent to those that prevail in arm’s-length transactions unless such
        representations can be substantiated.

        60.     Deloitte also consciously ignored National Century’s transfers of reserves

 between various accounts in an attempt to hide the under-collateralization of National Century’s



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 obligations.   The transfer of funds between accounts appeared on the general ledger and,

 therefore, should have been apparent to Deloitte. In addition, the fact that the transfers were

 “washed out” on the consolidated financial statements should have been a red flag to Deloitte

 about the fraud being perpetrated by National Century.

        61.     Similarly, Deloitte should have been aware of National Century’s fictitious

 receivables. National Century used three different accounting systems - the General Ledger

 System, the Funding System, and the Accounts Receivable System. Due to the overvalued,

 fictitious receivables, the Accounts Receivable System was continually out of balance with the

 other systems. National Century reconciled this problem by instituting a “Code 915” entry – that

 was nothing more than a number to cover the accounts receivable shortfall. Deloitte either knew

 or should have known that Code 915 entries accounted for a substantial portion of the

 receivables. Indeed, it was not until Code 915 entries totaled more than $1 billion that Deloitte

 expressed any concern. National Century simply responded to those concerns by purchasing

 “stale” or uncollectible receivables to offset the Code 915 entries and classified those purchases

 as new receivables designated as Code 99. Under those circumstances, GAAS required Deloitte

 to investigate and corroborate and report those fictitious “plug” entries that amounted to

 hundreds of millions of dollars.

        62.     In addition, Deloitte did nothing to verify the validity of receivables from the

 healthcare providers or the collateral for the Notes, even though the validity of those receivables

 was the critical foundation upon which the financial condition of National Century was based.

 Indeed, investigations after the scandal broke in late 2002 revealed that Deloitte purported to

 “audit” hundreds of millions of dollars of receivables and collateral by merely sending a letter of




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 inquiry to National Century and relying on the “word” of its client. As such, Deloitte once again

 failed to comply with its obligations under GAAS.

        63.      Furthermore, Deloitte had been informed of actual and existing noncompliance

 with trust indentures entered into between subsidiaries of National Century, including NPF XII,

 and trustees such as Bank One, pursuant to which National Century and NPF XII obtained their

 principal source of financing, and which noncompliance could have resulted (and ultimately did

 result) in the declaration of an Event of Default under the Master Indenture. Deloitte had also

 been informed that if an Event of Default was declared in respect to the Master Indenture, a

 Principal Amortization Event would occur under which the respective bankruptcy remote

 subsidiary of National Century (including NPF XII) would be required to cease purchasing new

 eligible receivables and to apply all cash received to the principal and interest due on related

 notes. Deloitte thus knew that a declaration of default could negatively affect the ability of

 National Century and its subsidiaries, including NPF XII, to fund their operations. Despite their

 awareness of these non-compliance events, which might not be cured and which would have the

 effect of causing the company to default on its indebtedness, Deloitte never disclosed them, and,

 indeed, ultimately gave National Century an unqualified audit opinion.

        64.      Deloitte issued its clean audit reports in the face of numerous other “red flags”

 and events revealing the existence of financial irregularities in connection with NCFE and its

 subsidiaries.    For example, National Century terminated the services of its auditors,

 PriceWaterhouseCoopers, following the audit of NCFE’s financial statements for the year ended

 December 31, 1998, the report in respect of which was delayed and not issued until August 10,

 1999. In addition, Deutsche Bank refused to serve as the initial purchaser of asset backed notes

 issued by National Century’s bankruptcy-remote subsidiaries – which were at all relevant times




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 the principal source of financing for National Century and its subsidiaries – as a result of

 Deutsche Bank’s insistence on extensive audits of the operations of National Century and its

 subsidiaries. Further, published reports disclosed allegations of fraudulent conduct by National

 Century and its subsidiaries in connection with the asset-backed notes financings, leading at least

 one rating agency to conduct an investigation into such allegations.

        65.     Deloitte either knew, or in the exercise of reasonably prudent audit functions

 under GAAS, should have know of the clear problems and deceptions inherent in its client’s

 financial affairs and business model. Nonetheless, Deloitte issued a “clean” audit report for

 National Century’s consolidated financial statements for the year ending December 31, 1999.

 Deloitte also audited and issued a “clean” report for National Century’s 2000 and restated 1999

 consolidated financial statements.

                b.      The auditor’s knowledge of its client’s intended use of the audited
                        financial statements

        66.     Deloitte supplied and/or approved the dissemination of its false and misleading

 audit reports to Pharos for Pharos’s guidance in deciding to buy the Preferred Stock.

        67.     Moreover, Deloitte is in the business of auditing financial statements for clients

 who sell securities to investors. Deloitte knows that its clients may distribute its audit reports

 directly to potential investors for the purpose of inducing them to buy securities. Here, Deloitte

 knew that National Century’s audited financial statements would be (and were) disseminated to,

 and relied upon by, institutional investors such as Pharos. National Century is not a publicly-

 traded company, and raised capital through private placements of debt and equity securities with

 qualified institutional buyers.      As National Century’s auditor, Deloitte knew this.        More

 specifically, Deloitte knew that its audits were to be used by National Century to sell securities to

 a relatively small and narrowly-defined class of investors who were eligible to participate in



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 private placement transactions pursuant to SEC Rule 144a.           Rule 144a provides that only

 investors deemed “qualified institutional buyers” may purchase securities in private placement

 transactions. Rule 144a defines “qualified institutional buyers” as certain entities “that in the

 aggregate own[] and invest[] on a discretionary basis at least $ 100 million in securities of issuers

 that are not affiliated with the entity.” To sell its securities directly to institutional investors,

 National Century had to provide them with financial information. The most obvious (and

 ostensibly reliable) source of that information was National Century’s audited annual financial

 statements. Thus, Deloitte knew that its audit opinions would be given to a limited group of

 prospective institutional investors (which included Pharos) to induce them to invest in National

 Century’s securities.

                c.       Pharos’s foreseeable reliance on the audited financial statements

        68.     The Private Placement Memorandum for the sale of the Preferred Stock was

 prepared by CSFB, Shattan and National Century in or before May 2001. Deloitte’s combined

 audit report for National Century’s 2000 and restated 1999 consolidated financial statements is

 dated May 18, 2001. While preparing that audit report, Deloitte was specifically aware of the

 Memorandum and of National Century’s intention to raise equity through the private placement

 of the Preferred Stock. Deloitte also knew that the audit report for 2000 and 1999 (restated)

 would be supplied to, and relied upon by, certain qualified institutional buyers which had been

 targeted, including Pharos, who received the Memorandum and were considering investing in the

 Preferred Stock. Further, Deloitte knew that its issuance of a “clean” audit report was critical to

 the success of National Century’s effort to privately place the Preferred Stock.

        69.     At all relevant times, Pharos was a qualified institutional buyer. Pharos received

 the Memorandum and was targeted by National Century, CSFB and/or the Shattan Group for




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 private placement of the Preferred Stock. In July 2002, Pharos ultimately purchased $12 million

 of the Preferred Shares from National Century in reliance on the Deloitte’s audit reports.

                        d.      The auditor’s motivations

        70.      Deloitte had a substantial motive to intentionally or recklessly disregard National

 Century’s fraud, and to certify as “clean” National Century’s fraudulent financial statements.

 Deloitte knew that digging too deeply to expose National Century’s fraud would jeopardize its

 business relationship with National Century and the substantial fees it was receiving from

 National Century.      In addition, demanding disclosure by National Century would have

 compromised Deloitte’s efforts at cross-selling its other services to National Century. Moreover,

 Deloitte knew that exposing National Century’s fraud would very likely result in National

 Century’s demise, which would have meant the loss of a valuable client for Deloitte.

        3.       CSFB and Shattan

        71.      CSFB and Shattan prepared and circulated the Memorandum that they knew was

 riddled with material misstatements and omissions of critical information. They also served as

 placement agents for the Preferred Stock. CSFB aggressively promoted National Century as a

 sound company in which Pharos should invest. It did so through a number of methods, including

 the transmission of effusively upbeat e-mails about how sound an investment National Century

 offered, and it even arranged with Deloitte for the provision of documents such as the draft 2001

 audit report.

        72.      Specifically, on March 5, 2002, David Hurwitz of CSFB sent the following e-mail

 to Pharos:

        Dale—I didn’t know you were at Pharos. I don’t believe we have closed a
        transaction with Pharos in the past, but I’ve certainly heard good things about the
        group. I do believe NCFE is what it is cracked up to be. It’s extremely profitable
        and has been for many years. They are the dominant player in the industry and
        still have great growth opportunities. I do not remember our group (and we’ve


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        raised over $5 billion in equity) ever having worked with a company that
        generates as much cash flow as NCFE. I think there are some initiatives the
        company needs to undertake regarding systematizing their business, but I believe
        the company has already made some important steps in this regard. We should
        get some more clarity on how the process will move forward. Hopefully we can
        get your team out to Columbus shortly.

        The e-mail was false and misleading because, when Hurwitz made those
        statements on CSFB’s behalf, he and CSFB knew that NCFE was little more than
        a massive Ponzi scheme—that the cash flow was, in reality, money from new
        securities offerings; that NCFE was losing money; and that NCFE had taken no
        steps at all toward systematizing their business.

        73.     CSFB and Shattan, in classic investment banker style, promoted National

 Century’s business model in upbeat presentations such as the one the Pharos personnel attended

 at National Century’s offices in Dublin, Ohio. This happened before Pharos decided to invest

 $12 million with National Century. Those representations were known by CSFB and Shattan to

 be false when made. Further, those representations were relied upon by Pharos in connection

 with its purchase of the Preferred Stock.

        4.      Purcell & Scott

        74.     The misstatements and various inaccurate representations made to Pharos also

 depended upon the complicity of its outside counsel, Purcell & Scott, in order to accomplish

 their goal – to induce Pharos to invest in National Century. In fact, Purcell & Scott issued a

 written opinion to Pharos on July 9, 2002. That opinion letter purported to advise Pharos that

 National Century’s execution of, and performance under, the Agreement would not violate any

 debt covenant or any state or federal law. That opinion was patently false. By issuing the

 Preferred Stock, National Century flagrantly violated various provisions of the Ohio Securities

 Act that render unlawful the offering or sale of any security by means of a material false and

 misleading statement or omission. Moreover, National Century was in gross breach of various

 debt covenants because its reserves were woefully inadequate.



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        75.     Purcell & Scott knew of the misstatements, omissions, violations of law, as well

 as the company’s breaches of the debt covenants.          It was also aware of the enormous

 overpayments to related entities and the grossly inadequate reserves.

        76.     Purcell & Scott enjoyed unparalleled access to National Century’s books, records,

 and personnel. Moreover, Purcell & Scott served National Century as counsel on most, if not all,

 of National Century’s securitization transactions and dealings with customers, including the

 related entities. Indeed, it advised National Century on how to structure National Century’s

 transaction with Pharos.

        77.     Purcell & Scott flouted its professional and ethical obligations when it issued the

 opinion letter, dated July 9, 2002, to Pharos, knowing that Pharos would rely on that opinion and

 knowing that National Century could not legally issue the Preferred Stock under the

 circumstances in which those securities were sold.

        5.      Pote and Wilkinson

        78.     Pote, as the sole member of National Century’s Audit Committee, irresponsibly

 approved Deloitte’s audits. Pote asked no questions of Deloitte and merely took Deloitte at its

 word with regard to the financial statements’ compliance with GAAP and Deloitte’s compliance

 with GAAS. Moreover, Pote, by virtue of his position with National Century, exercised a

 substantial degree of control over National Century’s actions. Without Pote’s blind seal of

 approval on National Century’s financials, National Century could not have deceived and then

 defrauded Pharos. Moreover, Pote held (but omitted to disclose) financial interests in companies

 such as Med Diversified—companies to whom National Century extended high-risk loans that

 amounted to about $1 billion.

        79.     Likewise with Wilkinson. Wilkinson, as a National Century director and enjoyed

 the position and ability to control National Century’s conduct concerning securities offerings and


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 maintain adequate debt reserves. Without Wilkinson’s support, National Century could neither

 have deceived nor defrauded Pharos.

 H.     The Damage Done: The Aftermath Of Rip-Offs And Deceptive Dealings

        80.     Over the course of just a few months, from October 2002 to January 2003,

 National Century went from an apparently-vibrant and profitable financial services company to a

 debtor-in-bankruptcy with no hope of reorganization or payment of its debts. The discrepancy

 between National Century’s publicly-portrayed health and its undisclosed sickness cannot be

 explained absent the complicity and active support and assistance of Defendants. Had any one or

 more of them fulfilled their common law and statutory duties to the company’s shareholders, the

 unlawful schemes concocted by National Century’s management team would never have been

 executed and the company would never have been run into the ground. More importantly for

 purposes of this action, if Defendants had fulfilled their duties, acted lawfully, and not

 cooperated, Pharos would never have become a National Century shareholder.

        81.     Today, Pharos’s $12 million investment in National Century Preferred Stock is

 not only worthless, but its loss has resulted in other consequential damages for the fund.

 Accordingly, Pharos has retained the undersigned counsel to prepare, file, and prosecute this

 complaint and the claims stated herein. Pharos seeks from Defendants all legal and equitable

 relief to which it may be entitled as a result of Defendants’ wrongdoing.

                                                 V.

                                             CLAIMS

 A.     Count One: Primary Violations of The Ohio Securities Act (Against CSFB, Shattan,
        Pote, and Wilkinson)

        82.     Pharos incorporates the allegations set forth in the preceding paragraphs.




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        83.      Ohio Revised Code Chapter 1707.41 provides that any person may recover

 damages who relies upon a misrepresentation in an offering circular or advertisement and

 purchases a security because of some misrepresentation therein.

        84.      CSFB and Shattan, in conjunction with National Century, offered National

 Century’s Preferred Stock for sale to Pharos.

        85.      Pharos relied upon the various misrepresentations and omissions set forth in the

 Private Placement Memorandum and was injured because of that reliance.

        86.      Accordingly, Defendants CSFB and Shattan are liable to Pharos for Pharos’s $12

 million loss.

        87.      Further, when a corporation is liable under Chapter 1707.41, that corporation’s

 directors become jointly and severally liable as well, whether or not they engaged in illegal

 conduct. Because National Century violated Chapter 1707.41, Pote and Wilkinson are likewise

 liable to Pharos as National Century’s directors.

        88.      Pharos hereby elects to void the $12 million sale of National Century’s Preferred

 Stock and, thus, tenders those shares to CSFB, Shattan, Pote, and/or Wilkinson.

 B.     Count Two: Aiding And Abetting Primary Violations Of The Ohio Securities Act
        (Against All Defendants)

        89.      Pharos incorporates the allegations set forth in the preceding paragraphs.

        90.      Ohio Revised Code Chapter 1707.43 allows recovery against any person “who

 has participated in or aided the seller in any way” in a sale of securities in violation of Chapter

 1707.41.

        91.      As described above, CSFB aided and participated in National Century’s sale of

 securities to Pharos. That conduct included, but was not limited to, CSFB’s effusively positive

 e-mails that promoted National Century as a sound investment and CSFB’s Memorandum.



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        92.     Shattan also aided and participated in National Century’s sale of securities to

 Pharos. This conduct included, but was not limited to, Shattan’s promotion of National Century

 as a sound investment and its preparation and circulation of the Memorandum.

        93.     As described above, Deloitte aided and participated in National Century’s sale of

 securities to Pharos. That conduct included, but was not limited to, Deloitte’s knowing and/or

 reckless certification of materially false and misleading financial statements, which concerned

 such items as National Century’s inadequate reserves for outstanding bonds and National

 Century’s massive overpayments to related entities. Deloitte’s assistance exceeded that which

 might be deemed incidental to providing accounting/auditing services in that Deloitte was

 complicit in National Century’s misdeeds under Chapter 1707.41.

        94.     Purcell & Scott aided and/or participated in National Century’s sale of securities

 to Pharos by, among other things, its promotion and issuance of the July 9, 2002, opinion letter

 to Pharos. Purcell & Scott’s assistance exceeded that which might be deemed incidental to the

 practice of law in that Purcell & Scott was complicit in National Century’s misdeeds under

 Chapter 1707.41.

        95.     Pote and Wilkinson aided or participated in National Century’s sale of securities

 to Pharos. For example, Pote and Wilkinson rubber-stamped Deloitte’s audits, and they failed to

 prevent National Century’s sale of securities to Pharos notwithstanding their knowledge of

 National Century’s financial dire straits.

 C.     Count Three: Negligent Misrepresentation (Against Deloitte)

        96.     Pharos incorporates the allegations set forth in the preceding paragraphs.

        97.     Deloitte is in the business of auditing financial statements for clients who sell

 securities to investors. Deloitte knows that its clients may distribute its audit reports directly to

 potential investors for the purpose of inducing them to buy securities. While preparing its audit


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 reports for National Century’s financial statements for the years ending 1999 (original and

 restated) and 2000, Deloitte knew and intended, or reasonably should have expected, that these

 reports would be distributed to and relied upon by certain qualified institutional investors, such

 as Pharos, seeking to purchase National Century’s securities in private placement transactions.

        98.     On May 18, 2001, Deloitte’s issued its combined audit report for National

 Century’s 2000 and restated 1999 financial statements.         While preparing this audit report,

 Deloitte knew that the report would be used in connection with National Century’s private

 placement of the Preferred Stock.          Deloitte supplied and/or specifically approved the

 dissemination of the report to Pharos. While preparing the report, Deloitte also knew, or was

 aware of facts which put them on notice that, the report would be received and relied upon by

 Pharos and/or a specific group of targeted qualified institutional investors that included Pharos.

        99.     Deloitte failed to exercise reasonable care and competence in preparing its audit

 report for National Century’s 2000 and restated 1999 financial statements and failed to comply

 with the requirements of GAAS.

        100.    The audit report contained material information in that National Century’s

 financial performance in 1999 and 2000 was clearly a factor that would have influenced a

 reasonable investor’s decision whether or not to purchase National Century’s Preferred Stock.

        101.    Pharos justifiably relied on the information contained in the audit report for

 National Century’s 2000 and 1999 (restated) financial statements in deciding whether to invest in

 National Century’s Preferred Stock.

        102.    As a result of Pharos’s justifiable reliance, Pharos has suffered pecuniary losses of

 at least $12 million, for which Pharos seeks to recover compensatory and consequential

 damages.




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 D.     Count Four: Common Law Fraud (Against All Defendants)

        103.    Pharos hereby incorporates the allegations set forth above.

        104.    The Defendants made a number of material misrepresentations of fact, and

 omitted material facts, in the following documents: (1) a Private Placement Memorandum,

 prepared and issued by CSFB and Shattan, as agents of National Century; (2) National Century’s

 financial statements; (3) Deloitte’s “clean” audit reports for National Century’s year 1999, year

 1999 restated, and year 2000 financial statements; (4) an opinion letter issued by Purcell & Scott;

 and (5) other materials created, reviewed and/or approved by National Century, its officers and

 directors, and its agents and consulting professionals (including, without limitation, Deloitte,

 Purcell & Scott, Shattan, CSFB, Pote, and Wilkinson).

        105.    The Defendants knew that their representations and omissions were false at the

 time they were made. In the alternative, the Defendants made those misrepresentations and/or

 engaged in those omissions with reckless disregard to the truth.

        106.    Those Defendants knew and intended, or should reasonably have expected, that

 Pharos would rely upon their misrepresentations and omissions.

        107.    In reliance upon the fraudulent statements and omissions of the Defendants,

 Pharos invested in NCFE’s securities.

        108.    Pharos’s reliance on the fraudulent representations and omissions of Defendants

 proximately caused injury to Pharos, for which it seeks to recover compensatory and

 consequential damages.

 E.     Count Five: Common-Law Negligence (Against Purcell & Scott)

        109.    Pharos incorporates the allegations set forth in the preceding paragraphs.

        110.    Purcell & Scott is in the business of providing legal advice on such matters as

 securities offerings and other transactional work. In the course of such work, Purcell & Scott


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 issued an opinion letter specifically for Pharos’s benefit. That letter contained materially false

 and misleading statements and omissions, particularly statements concerning the legality of the

 issuance of the securities with respect to the applicable securities laws.

        111.    Purcell & Scott failed to exercise reasonable care and competence in

 communicating that opinion.

        112.    Pharos justifiably relied on Purcell & Scott’s representations in the opinion letter

 in deciding whether to invest in National Century’s Preferred Stock.

        113.    As a result of Pharos’s justifiable reliance, Pharos has suffered pecuniary losses of

 at least $12 million, for which Pharos seeks to recover compensatory and consequential

 damages.

 F.     Count Five: Negligent Misrepresentation (Against CSFB and Shattan)

        114.    Pharos incorporates the allegations set forth in the preceding paragraphs.

        115.    CSFB and Shattan are in the business of providing financial advice and

 investment banking services for large companies such as National Century. In the course of such

 work, CSFB and Shattan promulgated the Memorandum, which contained a panoply of material

 misstatements and omissions. Pharos received copies of the Memorandum and relied on the

 representations and statements made therein.

        116.    National Century’s fraudulent sale of Preferred Stock was affected in part by

 CSFB’s and Shattan’s vigorously promoting the fraudulent sale.

        117.    CSFB and Shattan failed to exercise reasonable care and competence in obtaining

 and communicating the information set forth in the Memorandum.

        118.    Pharos justifiably relied on representations in the Memorandum in deciding to

 invest in National Century’s Preferred Stock.




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        119.    As a result of Pharos’s justifiable reliance, Pharos has suffered pecuniary losses of

 at least $12 million, for which Pharos seeks to recover compensatory and consequential

 damages.

 G.     Count Six: Conspiracy And Aiding And Abetting (Against All Defendants)

        120.    Pharos incorporates the allegations set forth in the preceding paragraphs.

        121.    Defendants entered into a combination or conspiracy in order to facilitate

 third-party capital investment in National Century, in the form of both equity (i.e., common and

 preferred stock) and debt (i.e., notes and other debentures). That conspiracy manifested itself in

 a number of respects, including, but not limited to, the sale and offering for sale of the National

 Century Preferred Stock.

        122.    Defendants reached a meeting of the minds on the foregoing objective and course

 of action and, in connection therewith, committed one or more unlawful acts or otherwise lawful

 acts for unlawful purposes. More specifically, Defendants engaged in, facilitated, encouraged,

 and contributed to the acts of fraud, breach of fiduciary duty, and negligent misrepresentation

 committed by auditors and financial advisors, legal counsel, and certain officers and other

 employees.

        123.    The foregoing acts were committed with the intent of injuring others, including

 investors in National Century’s Preferred Stock.

        124.    The conspiracy described above, and the acts committed in the course of that

 combination, proximately caused injury to Pharos, for which it seeks to recover compensatory

 and consequential damages.

        125.    In addition, because the conspiracy among Defendants constituted fraud, and the

 wrongful acts in furtherance thereof were committed maliciously, Pharos seeks to recover

 exemplary damages.


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                                                 VI.

                                          JURY DEMAND

         Pharos hereby requests a jury trial on all issues and claims.

                                                 VII.

                                       REQUEST FOR RELIEF

         WHEREFORE Pharos requests that, upon final hearing, the Court enter judgment in

 favor of Pharos and against Defendants, jointly and severally, providing for the following relief:

        1.       Rescissionary damages in an amount of at least $12 million;

        2.       Consequential and other compensatory damages in an amount to be determined

 by the trier of fact;

        3.       Punitive damages;

        4.       Attorneys’ fees;

        5.       Prejudgment and postjudgment interest at the highest rates authorized by law;

        6.       Costs of court; and

        7.       Such further relief, at law and in equity, to which Pharos may be entitled and

 which this Court deems just and proper.




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 Dated: January _____, 2004


                                      Respectfully submitted,

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